USCA4 Appeal: 07-4115                                Doc: 110                        Filed: 09/19/2008                       Pg: 1 of 1

   OCJA 24 AUTHORIZATION AND VOUCHER FOR PAYMENT OF TRANSCRIPT (Rev. 12/03)
  1. CIR./DIST./ DIV. CODE  2. PERSON REPRESENTED                                                                                  VOUCHER NUMBER
                                            Derek Bynum
  3. MAG. DKT./DEF. NUMBER                             4. DIST. DKT./DEF. NUMBER                        5. APPEALS DKT./DEF. NUMBER                     6. OTHER DKT. NUMBER
                                                        08:04-CR-0235 RWT
  7. IN CASE/MATTER OF (Case Name)                     8. PAYMENT CATEGORY                              9. TYPE PERSON REPRESENTED                      10. REPRESENTATION TYPE
                                                       G Felony                   G Petty Offense       G Adult Defendant            ✔ Appellant
                                                                                                                                     G                      (See Instructions)
   US v. Bynum                                         G Misdemeanor              G Other               G Juvenile Defendant         G Appellee          TD
                                                       ✔ Appeal
                                                       G                                                G Other
  11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five) major offenses charged, according to severity of offense.
   21 USC 846
                                                          REQUEST AND AUTHORIZATION FOR TRANSCRIPT
  12. PROCEEDING IN WHICH TRANSCRIPT IS TO BE USED (Describe briefly)

   Appeal in the 4th Circuit

  13. PROCEEDING TO BE TRANSCRIBED (Describe specifically). NOTE: The trial transcripts are not to include prosecution opening statement, defense opening statement, prosecution
      argument, defense argument, prosecution rebuttal, voir dire or jury instructions, unless specifically authorized by the Court (see Item 14).
   Trial, Motions

  14. SPECIAL AUTHORIZATIONS
                                                                                                                                                                             JUDGE’S INITIALS

            A. Apportioned Cost                        % of transcript with (Give case name and defendant)

             B. G Expedited              G Daily          G Hourly Transcript             G Realtime Unedited Transcript
            C. G Prosecution Opening Statement G Prosecution Argument G Prosecution Rebuttal
               G Defense Opening Statement        G Defense Argument            G Voir Dire                 G Jury Instructions
            D. In this multi-defendant case, commercial duplication of transcripts will impede the delivery of accelerated transcript services to
               persons proceeding under the Criminal Justice Act.
  15. ATTORNEY’S STATEMENT                                                                              16. COURT ORDER
        As the attorney for the person represented who is managed above, I hereby affirm that the           Financial eligibility of the person represented having been established to the Court’s
        transcript requested is necessary for adequate representation. I, therefore, request                satisfaction the authorization requested in Item 15 is hereby granted.
        authorization to obtain the transcript services at the expense of the United States pursuant
        to the Criminal Justice Act.


                           Signature of Attorney                                      Date                                  Signature of Presiding Judge or By Order of the Court

        Timothy Mitchell
                               Printed Name                                                                              Date of Order                              Nunc Pro Tunc Date
        Telephone Number:                             301-345-9555
        ✔ Panel Attorney
        G                       G Retained Attorney         G Pro-Se          G Legal Organization
                                                                                   CLAIM FOR SERVICES
  17. COURT REPORTER/TRANSCRIBER STATUS                                                                18. PAYEE’S NAME AND MAILING ADDRESS

        G Official          G Contract         G Transcriber            G Other                         Gloria Williams

  19. SOCIAL SECURITY NUMBER OR EMPLOYER ID NUMBER OF PAYEE

                                                                                                                                          Telephone Number:
                                                               INCLUDE                                                                                    LESS AMOUNT
  20.            TRANSCRIPT                                                           NO. OF PAGES         RATE PER PAGE             SUB-TOTAL                                        TOTAL
                                                            PAGE NUMBERS                                                                                  APPORTIONED
                 Original                                                                                                                    $0.00                                         $0.00
                 Copy                                                                                                                        $0.00                                         $0.00
                 Expense (Itemize)
                                                                                                                                  TOTAL AMOUNT CLAIMED:                                    $0.00
  21. CLAIMANT’S CERTIFICATION OF SERVICE PROVIDED
         I hereby certify that the above claim is for services rendered and is correct, and that I have not sought or received payment (compensation or anything of value) from any other source
         for these services.

         Signature of Claimant/Payee                                                                                                         Date

                                                                                ATTORNEY CERTIFICATION
  22. CERTIFICATION OF ATTORNEY OR CLERK I hereby certify that the services were rendered and that the transcript was received.


                                         Signature of Attorney or Clerk                                                          Date
                                                             APPROVED FOR PAYMENT — COURT USE ONLY
  23. APPROVED FOR PAYMENT                                                                                                                                   24. AMOUNT APPROVED


                                      Signature of Judge or Clerk of Court                                                       Date



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